

Matter of Carroll (Commissioner of Labor) (2025 NY Slip Op 02246)





Matter of Carroll (Commissioner of Labor)


2025 NY Slip Op 02246


Decided on April 17, 2025


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 17, 2025

CV-23-0833
[*1]In the Matter of the Claim of Matthew Carroll, Appellant. Commissioner of Labor, Respondent.

Calendar Date:March 21, 2025

Before:Garry, P.J., Egan Jr., Aarons, Reynolds Fitzgerald and McShan, JJ.

Matthew Carroll, Collingswood, New Jersey, appellant pro se.
Letitia James, Attorney General, New York City (Gary Leibowitz of counsel), for respondent.



Appeal from a decision of the Unemployment Insurance Appeal Board, filed September 15, 2022, which denied claimant's application for reopening and reconsideration of prior decisions.
Decision affirmed. No opinion.
Garry, P.J., Egan Jr., Aarons, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that the decision is affirmed, without costs.








